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UNITED STATES DISTRICT COURT                                                             1/18/2018
                                                                           DATE FILED: ______________
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
HANNA BOUVENG,                                                 :
                                                               :
                                    Plaintiff,                 :   ORDER
                                                               :
                  -v-                                          :   14-CV-5474 (PGG) (JLC)
                                                               :
NYG CAPITAL LLC, et al.,                                       :
                                                               :
                                    Defendants.                :
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JAMES L. COTT, United States Magistrate Judge.

        The Court held a telephone conference today in this matter. As discussed, the Court will

hold another telephone conference on January 26, 2018 at 3:00 p.m. to have counsel report on

the status of further settlement discussions. Counsel are directed to appear telephonically by

calling chambers together at (212) 805-0250 at the scheduled time or otherwise providing a call-

in number to the Court.

        SO ORDERED.

Dated: New York, New York
       January 18, 2018
